   Case 3:23-cv-00194-L Document 50 Filed 10/05/23               Page 1 of 4 PageID 920

                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ENERRA CORPORATION,                                       Civil Action No. 3:23-cv-00194-L

                             Plaintiff,

       vs.

CONTI GROUP LLC, PLASTIKGAS LLC,
ROBERTO CONTI, JULIE CONTI, JORDAN
CONTI,

                             Defendants.


CONTI GROUP, LLC,

                             Counter-Plaintiff,

       vs.

ENERRA CORPORATION, SERGIO PEREZ,
MARK MILLS AND MICHAEL BROWN,

                              Third-Party
                              Defendants.


             AGREED MOTION FOR EXTENSION OF TIME TO CONDUCT
                       JURISDICTIONAL DISCOVERY

       Counter-Plaintiff, Conti Group, LLC, (hereinafter “Counter-Plaintiff”), and Third-Party

Defendants, (hereinafter “Third-Party Defendants”), hereby file this Agreed Motion for

Extension of Time to Conduct Jurisdictional Discovery, for the following good cause.

       1.     On August 10, 2023, the Magistrate granted Counter-Plaintiff’s request to conduct

jurisdictional discovery, allowing for (1) room to file a motion raising a dispute by November 1,

2023, (2) discovery through November 8, 2023, (3) a sur-reply by November 29, 2023, and (4) a

sur-sur-reply by December 13, 2023. [Doc. 49].

       2.     Immediately following the Magistrate’s order, undersigned Counsel, Carey R.

McNair, contracted a severe, extended case of covid; subsequently, undersigned Counsel’s

immediate family also contracted covid. Additionally, during this time, one of undersigned
   Case 3:23-cv-00194-L Document 50 Filed 10/05/23                  Page 2 of 4 PageID 921

Counsel’s children suffered a broken bone that required surgical repair.

       3.      On September 8, 2023, discovery requests were served on Third-Party Defendants,

who have requested additional time to respond to Counter-Plaintiff’s requests.

       4.      Counsel for Counter-Plaintiff and Third-Party Defendants have reviewed the

Court’s Order [Doc. 49] and are working together to ensure proper time is given to adequately

respond to requests. As such, Counter-Plaintiff and Third-Party Defendants request an extension

of this Magistrate’s Order. [Doc. 49] FRCP 6(b) allows this extension for good cause.

       5.      Counter-Plaintiff and Third-Party Defendants request an extension of time to

conduct jurisdictional discovery by sixty days resulting in the following change to the Magistrate’s

Order [Doc. 49]:

All jurisdictional discovery must be completed by January 8, 2024, and any motion raising a
dispute that may arise regarding this jurisdictional discovery must be filed by January 2,
2024. Counter-Plaintiff Conti Group, LLC must file any sur-reply to the Motion to Dismiss, based
on the results of these discovery efforts, by January 29, 2024, and Counter-Defendants must file
any sur-sur-reply by February 12, 2024.

       6.      No deadlines in this Court’s Scheduling Order [Doc. 33] would be affected by this

request.

       7.      Good cause has been presented to request an extension as undersigned Counsel

contracted a severe, extended case of covid during the time frame provided by the Magistrate, as

undersigned Counsel’s immediate family contracted covid, and as undersigned’s child underwent

a surgical repair to a broken bone.

       8.      Third-Party Defendants need additional time to respond to Counter-Plaintiff’s

discovery requests, and Counter-Plaintiff needs time to review documents provided by the Third-

Party Defendants.

       9.      This is the first request for an extension of time regarding this deadline.

       10.     This request is filed in good faith and not in an effort to delay these proceedings.

       11.     No party will suffer any prejudice with this request.

       For these reasons, good cause exists for this Court to grant this Motion and to extend the
   Case 3:23-cv-00194-L Document 50 Filed 10/05/23            Page 3 of 4 PageID 922

deadline for jurisdictional discovery.

Dated: October 5, 2023                   Respectfully submitted,
                                         CRM LAW PLLC

                                         By:    /s/ Carey R. McNair
                                                Carey R. McNair
                                                Texas Bar No. 0638234

                                         820 S Macarthur Blvd Ste 105-342
                                         Coppell, Texas 75019
                                         850-509-4874 telephone
                                         carriemcnair@crmcnairlaw.com


                                         /s/ Brandon Wilson

                                         Brandon Wilson
                                         State Bar No. 24076776
                                         brandonw@hermes-law.com

                                         Peter Kerr
                                         State Bar No. 24076478
                                         peter@hermes-law.com

                                         Hermes Law, P.C.
                                         2550 Pacific Avenue, Suite 700
                                         Dallas, Texas 75201
                                         (214) 749-6800
                                         (214) 749-6801 (Fax)

                                         ATTORNEYS FOR (A) DEFENDANTS CONTI
                                         GROUP LLC, PLASTIKGAS LLC, ROBERTO
                                         CONTI, JULIE CONTI, JORDAN CONTI AND
                                         (B) COUNTER-PLAINTIFF CONTI GROUP,
                                         LLC
    Case 3:23-cv-00194-L Document 50 Filed 10/05/23              Page 4 of 4 PageID 923

COBB MARTINEZ WOODWARD PLLC
By /s/ Jeff Nicodemus
JEFFREY I. NICODEMUS
State Bar No. 24007748
jnicodemus@cobbmartinez.com
R. PRICE ANDERSON
State Bar No. 24116029
panderson@cobbmartinez.com
1700 Pacific Avenue, Suite 3100
Dallas, Texas 75201
(214) 220-5200 (Telephone)
(214) 220-5299 (Fax)

ATTORNEYS FOR THIRD-PARTY
DEFENDANTS SERGIO PEREZ, MICHAEL
BROWN, AND MARK MILLS


                               CERTIFICATE OF CONFERENCE
        Carey R. McNair has conferred with attorneys for the Third-Party Defendant Individuals
 regarding the merits of this Motion.

                                                    By: /s/ Carey R. McNair
                                                           Carey R. McNair

                                   CERTIFICATE OF SERVICE
         I certify that all attorneys deemed to accept service of the above-referenced document
 electronically, which includes all attorneys entitled to receive service of the above-referenced
 document, will be notified via the Court’s CM/ECF system on today’s date, October 5, 2023.

                                                    By: /s/ Carey R. McNair
                                                            Carey R. McNair
